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                                                                Thursday, 01 March, 2018 06:04:19 PM
                                                                        Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Case No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                    MOTION FOR LEAVE TO FILE SEALED RESPONSE

       Defendant Brendt Christensen respectfully moves this Court for an Order

allowing the filing of a Sealed Response to Government’s Motion to Strike Docket #60.

In support of this Motion, Mr. Christensen states as follows:

       1.     On February 7, 2018, Mr. Christensen filed his Memorandum in Support

of a Proposed Scheduling Order (R. 59) which referenced four separate exhibits. Three

of the exhibits were attached to Docket 59, while the fourth was filed under seal as

Docket #60.

       2.     On February 14, 2018, the government filed a Motion to Strike Docket #60

or alternatively, to unseal the document and permit a public response thereto. (R. 69)

       3.     This Court’s local rules require that before any sealed document can be

filed, the party who has a legal basis to file a document under seal must first seek the

permission of the district court via a motion for leave to file the document under seal.

CDIL Local Rule 49.9(A)(2). The motion must include an explanation of how the




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document in question meets the legal standards for filing sealed documents, and file a

copy of the proposed sealed document as a separate docket event. Id.

      4.     In the present case, counsel filed Docket #60 under seal to prevent

sensitive information regarding plea negotiations from becoming public and tainting

the jury pool. Mr. Christensen’s Response to the government’s motion contains similar

references, which if made public, could irreparably poison the venire in this case.

Therefore, he asks permission to file his Response to Docket #69 under seal, and has

filed a copy of the Response as a separate sealed document.

                                  Respectfully submitted,

                                  BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                    /s/ George Taseff
      Assistant Federal Public Defender          Assistant Federal Public Defender
      300 West Main Street                       401 Main Street, Suite 1500
      Urbana, IL 61801                           Peoria, IL 61602
      Phone: 217-373-0666                        Phone: 309-671-7891
      FAX: 217-373-0667                          Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org            Email: George_Taseff@fd.org

      /s/ Robert Tucker
      Robert L. Tucker, Esq.
      7114 Washington Ave
      St. Louis, MO 63130
      Phone: 703-527-1622
      Email: roberttuckerlaw@gmail.com




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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 1, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




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